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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                Plaintiffs,                             4:18CR3126

     vs.
                                                          ORDER
RODRIGO BOLANOS,

                Defendants.


     IT IS ORDERED:


     1)    The Plaintiff’s unopposed email motion for a protective order is
           granted.

     2)    Defense counsel may review the discovery materials with the
           Defendant, but the Defendant may not retain a copy of the discovery
           materials. Defense counsel may allow their regular staff, as well as
           interpreters, to retain a copy of the discovery materials. Defense
           counsel shall not disseminate a copy of the discovery materials to
           anyone else without first obtaining this Court’s approval.

     Dated this 28th day of September, 2018.

                                          BY THE COURT:

                                          s/ Cheryl R. Zwart
                                          United States Magistrate Judge
